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5    Counsel for Plaintiffs and the Putative Class

6                   UNITED STATES DISTRICT COURT FOR THE
7                       CENTRAL DISTRICT OF CALIFORNIA

8
     TESSIBLE “SKYLER” FOSTER;                  2:23−cv−07441−AB−PVC
9    MARIE SCOTT; and KRISTA
     BAUMBACH, individually and on              DECLARATION IN SUPPORT
10   behalf of all others similarly situated,   OF MOTION FOR FINAL
                                                APPROVAL OF CLASS ACTION
11                                              SETTLEMENT
                  Plaintiffs,
12   V.
     800-FLOWERS, INC., D/B/A 1-800-
13   FLOWERS.COM, HARRY & DAVID,
     PERSONALIZATION MALL,
14   SHARI’S BERRIES, 1-800-
     BASKETS.COM, SIMPLY
15   CHOCOLATE, FRUIT
     BOUQUETS.COM, CHERYL’S
16   COOKIES, THE POPCORN
     FACTORY, WOLFERMAN’S
17   BAKERY, AND VITAL CHOICE,

18
                  Defendant.
19

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1                       DECLARATION OF FRANK S. HEDIN IN
                       SUPPORT OF PLAINTIFFS’ MOTION FOR
2                 FINAL APPROVAL OF CLASS ACTION SETTLEMENT

3            I, Frank S. Hedin, declare under penalty of perjury, pursuant to 28 U.S.C. §

4    1746 and based on my own personal knowledge, that the following statements are

5    true:

6            1.     I am a partner at Hedin LLP and counsel of record for Plaintiffs in this

7    action. I submit this declaration in support of Plaintiffs’ Motion for Final Approval

8    of the Class Action Settlement filed concurrently.

9            2.     Prior to initiating any action against Defendants, my firm and I

10   conducted a comprehensive pre-filing investigation concerning the specific factual

11   and legal issues underlying Plaintiffs’ claims. These extensive pre-filing efforts

12   included:

13           • Researching the nature of Defendant’s business and its practices
               with respect to the sales, presentation of autorenewal terms, and
14             autorenewal of its Celebrations Passport at various times and across
               various sales channels and brands;
15
             • Interviewing numerous California consumers who purchased the
16             Celebrations Passport from the Defendant during the statutory
               period, including interviewing them about their process of
17             purchasing the Celebrations Passport, any disclosures they received
               or agreed to during the purchase process, and any notices of
18             renewals they subsequently received;

19           • Collecting and reviewing documents from numerous individuals
               who purchased the Celebrations Passport, including documents
20             spanning multiple years;
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1          • Researching and analyzing Defendant’s subscription terms, renewal
             procedures, and renewal notice procedures for its Celebrations
2            Passport;

3          • Analyzing versions of Defendant’s websites across different
             devices, Privacy Policy, Terms of Service, and other public
4            documents on its websites during the relevant time period, including
             archived versions of webpages;
5
           • Researching the relevant law and assessing the merits of a potential
6            claim under California’s Automatic Renewal Law (“ARL”), Cal.
             Bus. & Prof. Code §§ 17600, et seq., against Defendant and defenses
7            that Defendant might assert; and

8          • Researching the applicable limitation period for violations of
             California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof.
9            Code §§ 17200, et seq. and False Advertising Law (“FAL”), Cal.
             Bus. & Prof. Code §§ 17500, et. seq. and other potential defenses.
10

11         3.    As a result of this thorough pre-filing investigation, Class Counsel was

12   able to develop a viable theory of liability for an ARL claim against Defendant and

13   prepare a thorough complaint against Defendant.

14         4.    On April 20, 2023, my firm filed an initial complaint on behalf of

15   Plaintiff Damon Tate, in the Superior Court of Los Angeles County styled Tate v.

16   800-Flowers, Inc, alleging Defendant violated California’s ARL in connection with

17   its Celebrations Passport product. On June 1, 2023, after conducting additional

18   investigation and interviewing more of Defendant’s customers, my firm filed an

19   amended complaint, adding Plaintiffs Natasha Paracha, Ian Chen, Brittany

20   Mansfield, and Alba Vargas.

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1          5.     Defendant removed the case to the Central District of California,

2    causing the case to be re-captioned as 2:23-cv-04340-AB-PVC. Defendant

3    thereafter filed a motion to compel plaintiffs to arbitration and alternatively moved

4    to dismiss the claims of four of the five representative plaintiffs for lack of standing.

5    (Tate, ECF No. 16).

6          6.     Our investigation continued while the motion to compel arbitration and

7    dismiss filed in the Tate action was pending.

8          7.     The Tate Plaintiffs elected to dismiss their action without prejudice on

9    September 6, 2023. (Tate, ECF No. 22).

10         8.     On September 7, 2023, plaintiffs Tessible “Skyler” Foster, Anayancy

11   Paiz, Susan Finkbeiner, and Larissa Rapadas filed the initial class action complaint

12   in this Action, which, like the Tate action, alleged that Defendant violated the ARL

13   in connection with its Celebrations Passport product. (See ECF No. 1). On

14   November 14, 2023, Defendant filed a motion to compel Ms. Paiz and Ms. Rapadas

15   to arbitrate their claims, arguing that the desktop computer purchase interface Ms.

16   Paiz and Ms. Rapadas used to buy Celebrations Passport bound them to arbitrate.

17   (ECF No. 14). Defendant also sought a stay of the case pending final resolution of

18   the arbitrations and, in the same motion, moved to dismiss Ms. Finkbeiner for lack

19   of standing. (Id.)

20         9.     On December 5, 2023, Plaintiffs filed a first amended complaint.
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1    (ECF No. 20). The first amended complaint retained plaintiffs Foster, Paiz, and

2    Rapadas as representative plaintiffs, added plaintiffs Marie Scott and Krista

3    Baumbach, and added as representative plaintiffs Kimberly Moore Keller and

4    Latricia Anderson Thompson. (Id.)

5          10.    On January 18, 2024, Defendant filed a motion to compel to arbitration

6    five of the seven representative plaintiffs—Anayancy Paiz, Larissa Rapadas,

7    Kimberly Moore Keller, Latricia Anderson Thompson, and Marie Scott. Defendant

8    also sought a stay of the case pending final resolution of the arbitrations, and

9    separately moved to dismiss Kimberly Moore Keller and Latricia Anderson

10   Thompson for lack of standing. (ECF No. 27). With respect to the motion to

11   compel arbitration, Defendant renewed its argument that the desktop computer and

12   Android mobile platform channels Ms. Paiz, Ms. Rapadas, Ms. Moore Keller, Ms.

13   Thompson, and Ms. Scott used to purchase Celebrations Passport clearly and

14   conspicuously presented an agreement to arbitrate. (Id.). Contemporaneously,

15   Defendant answered the first amended complaint as to plaintiffs Foster and

16   Baumbach. (ECF No. 28).

17          11.   The Parties extensively conferred on this second motion to compel

18   arbitration. Based on the conferral, and my firm’s ongoing investigation, plaintiffs

19   sought leave to file the operative second amended complaint, which brought a claim

20   on behalf of representative Plaintiffs Foster, Scott, and Baumbach only, and that
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1    alleged Defendant violated California’s ARL through its telephone sales channel in

2    addition to its violation of the ARL vis-à-vis the sales of Celebrations Passport

3    completed via the internet. (ECF No. 35).

4            12.   The Court granted Plaintiffs leave to file the operative second amended

5    complaint, which Plaintiffs filed on April 12, 2024.1 (ECF No. 45).

6            13.   On May 10, 2024, Defendant filed a third motion to compel arbitration

7    as to Plaintiffs Scott and Baumbach, to stay the case pending the outcome of the

8    arbitration, and alternatively to dismiss Ms. Baumbach for lack of standing. (ECF

9    No. 46).

10           14.   Plaintiffs served requests for production and interrogatories on May

11   28, 2024.

12           15.   To respond to Defendant’s Motion to Compel Arbitration as to Ms.

13   Baumbach, Plaintiffs engaged a web design expert to evaluate Defendant’s claim

14   that the mobile flow which Ms. Baumbach used to purchase Celebrations Passport

15   put purchasers on inquiry notice of the site Terms and Conditions which contained

16   an arbitration provision. Additionally, Plaintiffs sought, and obtained leave from

17   the Court to postpone the hearing on the Motion to Compel Arbitration to conduct

18   discovery on the issues raised in the motion, specifically on the existence of a

19

20   1
         The SAC also removed the FAL claim and proceeded with the UCL claim only.
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1    recording of Ms. Scott purchasing Celebrations Passport via Defendant’s telephone

2    order platform, Defendant’s data retention policy for recordings of phone calls

3    which Defendant claimed it did not have, and the online purchase flow used by Ms.

4    Baumbach to purchase Celebrations Passport.

5          16.    The Parties’ negotiations about the scope and conduct of discovery in

6    early-June led to the first settlement discussions in the case. By mid-June the Parties

7    had agreed to engage a mediator and to complete mediation by September 1, 2024.

8    Plaintiffs at all times conditioned their participation in the mediation on receiving

9    information from Defendant concerning the number of customers who used the

10   various sales channels used by the representative plaintiffs—online, mobile, and 1-

11   800 hotline—and the number of non-refunded autorenewals corresponding to each.

12         17.    To facilitate the mediation, and with the aim of resolving the case in

13   the most efficient manner possible, the Parties stipulated to extend all deadlines

14   pertaining to the pending motion to compel arbitration by 90 days, and all other case

15   management deadlines, including trial, by 180 days. (ECF No. 52). The Court

16   accepted and entered the stipulation on June 20, 2024. (ECF No. 53).

17         18.    Defendant timely provided the required pre-mediation information,

18   and on July 24, 2024 the parties attended a full day mediation with Jill Sperber, Esq.

19   of Judicate West. Ms. Sperber was selected because of her extensive experience in

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1    mediating and successfully resolving complex class actions, including consumer

2    class actions.

3             19.   Prior to the mediation, the Parties provided Ms. Sperber with

4    mediation position statements on a confidential basis. Plaintiffs’ statement set forth

5    their evaluation of the case, including their prospects for prevailing on the pending

6    motion to compel arbitration in light of consulting with their expert, their

7    assessment of prevailing on the motion to dismiss Ms. Baumbach for lack of

8    standing, and the high likelihood of certifying a class. Armed with the number of

9    customers and number of renewals, Plaintiffs were further able to make a cogent,

10   good faith assessment of the range of potential damages which informed the

11   settlement negotiations.

12            20.   The mediation concluded with the Settlement, which was

13   provisionally approved by this Court, and the Parties’ execution of a binding term

14   sheet.

15            21.   The resulting $1,200,000, non-reversionary Settlement secures a very

16   strong result for the estimated 111,305 California consumers who are members of

17   the Settlement Class. Each Settlement Class Member who has not opted out will

18   automatically receive, without the need to file a claim form, an estimated $6.83,

19   which is an appropriate figure considering that the Settlement Class Members are

20   receiving this value over the benefits received from purchasing Celebrations
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1    Passport. Settlement Shares shall be paid by default to a Zelle account linked to the

2    email address the Settlement Class Member most recently used to renew

3    Celebrations Passport, or, if Zelle is unavailable, via an electronic MasterCard gift

4    card sent to that same email address. On the Settlement Class Member’s election on

5    the Settlement Website, a Settlement Share may be paid by paper check.

6          22.    Plaintiffs estimated the potential liability Defendant faced had the

7    Proposed Settlement not been reached as $5,544,000, which assumes 1.5 automatic

8    renewals per Settlement Class Member at approximately $33.00 per renewal, which

9    includes sales tax.2 Defendant would have certainly argued that no refunds were

10   due to any putative class members. And, if only a single renewal was compensable

11   because the customer was on notice of the automatic renewal of Celebrations

12   Passport no later than after incurring the first renewal charge the anticipated

13   damages would be $3,696,000.

14         23.    In the weeks following the mediation, the Parties negotiated and

15   finalized the Settlement Agreement, attached as Exhibit 1, and jointly interviewed

16   and selected the Settlement Administrator—Kroll Settlement Administration LLC

17
     2
18     For the purposes of estimating liability and the strength of recovery, the
     undersigned has assumed one email address per Settlement Class Member linked to
19   a Celebrations Passport account, and these assumptions were based on figures prior
     to the Settlement Administrator’s deduplication. The Class List initially provided
20   contained approximately 112,000 email addresses, which the Settlement
     Administrator concluded corresponded to 111,305 Settlement Class Members.
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1    (“Kroll”).   The Court accepted the Parties’ proposal and appointed Kroll as

2    Settlement Administrator to perform all the duties set forth in the Settlement

3    Agreement. (ECF No. 58). The Class Notice, as provisionally approved, was

4    followed, and notices are expected to have reached 110,479 of the 111,305 persons

5    to whom the notice was sent, which equates to a reach rate of the direct notice of

6    approximately 99.3%. A true and correct copy of Kroll’s administration of the

7    Class Notice and Settlement is attached hereto as Exhibit 2. 3 As explained therein,

8    Kroll utilized the list of emails provided by Defendant to carry out the Class Notice.

9          24.    The Parties agreed to the terms of the Settlement through experienced

10   counsel who possessed all the information necessary to evaluate the case, determine

11   all the contours of the proposed class, and reach a fair and reasonable compromise

12   after negotiating the terms of the Settlement at arm’s length and with the assistance

13   of a neutral mediator. Our firm worked extensively with defense counsel, and where

14   needed, Kroll, to finalize and memorialize the agreement into a formal class action

15   Settlement Agreement, including proposed class notice documents. That process

16   included rounds of revisions.

17         25.    Plaintiffs and Class Counsel recognize that, despite our belief in the

18
     3
19    As set forth in Exhibit 2, Kroll was required to exceed to $89,400 allocated for
     Settlement Administration because of a significantly higher-than-expected Email
20   Notice bounce back rate. This ultimately resulted in a de minimis reduction in the
     Settlement Shares from $6.90-$6.99 to $6.83.
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1    strength of Plaintiffs’ claims, the expense, duration, and complexity of protracted

2    litigation would be substantial and the outcome uncertain in light of the significant

3    risks of non-recovery posed by continued litigation.

4          26.    Indeed, had this litigation continued, Plaintiffs and Settlement Class

5    Members would have faced several significant risks of total non-recovery, on

6    questions concerning the merits of the claims and Plaintiffs’ ability to certify a class.

7          27.    In particular, from the outset of the case, Plaintiffs and Class Counsel

8    recognized that the case presented a substantial risk pertaining to whether

9    Defendant could compel Plaintiffs to arbitration. As described above, our firm

10   persisted in pursuing the case through multiple motions to compel, and several

11   iterations of the Complaint, consistently refining the claims through ongoing

12   investigation.

13         28.    Additionally, absent the Settlement, Defendant (through its highly

14   experienced attorneys) indicated that it would have defended against Plaintiffs’

15   claims by arguing that Defendant complied with requirements of California’s ARL

16   or substantially complied in good faith per the ARL’s good faith defense, that

17   Plaintiffs and the class members waived their right to seek relief by making

18   voluntary repeated payments, and that a class could not be certified because of

19   individualized issues such as whether class members assented to arbitration and

20   whether each class member knew about the Celebrations Passport billing terms
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1    when purchasing Celebrations Passport.            Defendant would have mounted a

2    vigorous defense at trial and beyond, including in any appeal from an adverse

3    judgment or an order certifying a class, and that Defendant would argue—in both

4    the trial and appellate courts—for a reduction of any class-wide damages award on

5    substantive due process grounds.

6          29.    Following implementation of the Class Notice, my firm prepared

7    Plaintiffs’ Motion for Final Approval, which is being filed contemporaneously

8    herewith.

9                 FAIRNESS & ADEQUACY OF THE SETTLEMENT

10         30.    Plaintiffs and Class Counsel believe that the relief provided by the

11   settlement weighs heavily in favor of a finding that the settlement is fair, reasonable,

12   and adequate, and well within the range of approval.

13         31.    In this litigation, Plaintiffs contributed substantial effort to advance the

14   interests of the Settlement Class. Specifically, Plaintiffs worked with proposed

15   Class Counsel to detail their subscription and purchase history, including how they

16   subscribed to the Celebrations Passport and their knowledge of Celebrations

17   Passport’s terms and conditions. Each of the Plaintiffs searched their bank records,

18   product order histories with Defendant and its brands, and their communications

19   with Defendant. Moreover, Plaintiffs worked with Class Counsel to prepare the

20   Complaints, carefully reviewed the Complaints for accuracy, and approved them
                                                  11
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1    before they were filed.

2          32.    Plaintiffs filed this case knowing it would cause their names to be

3    associated with litigation. Plaintiffs kept in regular contact with Class Counsel,

4    including on matters of strategy, discovery, mediation, and the prospects of

5    settlement and were prepared to testify at deposition and trial, if necessary.

6          33.    I am of the opinion that Plaintiffs’ active involvement in this case was

7    critical to its ultimate resolution. They took their role as class representatives

8    seriously, devoting time and effort to protecting the interests of the class. Without

9    their willingness to assume the risks and responsibilities of serving as class

10   representatives, I do not believe such a strong result could have been achieved.

11                             HEDIN LLP’S EXPERIENCE

12         34.    Based in Miami, Florida and San Francisco, California, Hedin LLP

13   focuses on consumer and data privacy class actions and has successfully prosecuted

14   dozens of such matters in state and federal courts as court-appointed class counsel.

15   E.g., Schreiber et al. v. Mayo Foundation for Medical Education & Research, No.

16   22-cv-00188 (W.D. Mich.) (class counsel in action alleging unauthorized disclosure

17   of consumers’ purchase information in violation of state statute, negotiated $52.5

18   million all-cash non-reversionary settlement for class); Kokoszki v. Playboy

19   Enterpises, Inc., No. 19-cv-10302-BAF (E.D. Mich.) (class counsel in action

20   alleging sale of Playboy subscribers’ personal information in violation of the
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1    Michigan PPPA, obtained $3.8 million non-reversionary class settlement); Rivera

2    et al. v. Google, LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cnty. Ill., Apr. 5, 2022)

3    (class counsel in action alleging violations of Illinois’s Biometric Information

4    Privacy Act (“BIPA”), obtained $100 million non-reversionary class settlement);

5    Olsen, et al. v. ContextLogic Inc., No. 19CH06737 (Cir. Ct. Cook Cnty. Ill., Jan 7,

6    2020) (class counsel in action alleging violations of the of the federal Telephone

7    Consumer Protection Act (“TCPA”), successfully defeated defendant’s motion to

8    compel arbitration and obtained $16 million non-reversionary class settlement);

9    Donahue v. Everi Payments, Inc., et al., No. 2018-CH-15419 (Cook Cnty., Ill. Cir.

10   Ct.) (class counsel in action alleging disclosure of consumers’ credit and debit card

11   information on printed transaction receipts in violation of the federal Fair and

12   Accurate Credit Transactions Act, obtained $14 million non-reversionary class

13   settlement); Owens, et al. v. Bank of America, N.A., et al., No. 19-cv-20614-MGC

14   (S.D. Fla.) (class counsel in action alleging the improper assessment of overdraft

15   fees when accounts were not actually overdrawn, obtained $4.95 million class

16   settlement); Liggio v. Apple Federal Credit Union, No. 18-cv-1059-LO (E.D. Va.)

17   (class counsel in action alleging the improper assessment of overdraft fees for “non-

18   recurring” debit card transactions misclassified as “recurring” debit card

19   transactions, obtained $2.7 million class settlement). Over the past five years alone,

20   my firm has recovered over $400 million in all-cash relief for the classes we have
                                                13
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1    represented. See Firm Resume of Hedin LLP, a true and accurate copy of which is

2    attached hereto as Exhibit 3.

3          I declare under penalty of perjury that the above and foregoing is true and

4    accurate. Executed this 24th day of January 2025 in Miami, Florida.

5                                                  /s Frank S. Hedin
6                                                    Frank S. Hedin

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